RALPH KITCHEN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Kitchen v. CommissionerDocket No. 12655.United States Board of Tax Appeals11 B.T.A. 855; 1928 BTA LEXIS 3703; April 27, 1928, Promulgated *3703  Petitioner is the president and general manager of a hotel corporation.  In the taxable year he was supplied with rooms and meals for himself and wife without charge.  Held, that the Commissioner did not err in adding the reasonable value of such rooms and meals to the income of the petitioner.  Veggo Lyngby, Esq., for the petitioner.  Philip M. Clark, Esq., for the respondent.  LANSDON *855  The respondent has asserted a deficiency income tax for the year 1921 in the amount of $291.79.  The only issue is whether the value of lodging and meals supplied to the general manager of a hotel shall be included in such manager's gross income for the taxable year.  *856  FINDINGS OF FACT.  The petitioner is an individual, residing in Omaha, where in the taxable year he was president and general manager of the Kitchen Brothers Hotel Co., which operated the Paxton Hotel at Omaha, and was the owner of 257 shares of the 500 shares of outstanding capital stock of such company.  Nearly all the other shares were owned by the petitioner's wife or by members of his immediate family.  The Paxton Hotel has about 200 rooms, a cafe, a barber shop and*3704  other facilities usually maintained for the service and convenience of paying guests.  In the taxable year it was operated 24 hours daily.  The petitioner as general manager had oversight and supervision of all activities incident to the business.  In order that he might be at hand at any time for conference with employees or patrons, the hotel company furnished him and his wife rooms and meals without charge.  He maintained no residence outside the hotel.  The cash salary of the petitioner was $2,500 per annum.  In his income-tax return for the taxable year the petitioner included no amount representing the value of the rooms and meals furnished to him and his wife by the hotel company without charge.  Upon audit of such return the Commissioner added to the income reported the amount of $2,000 as the value of such rooms and meals to the petitioner, and determined the deficiency now in controversy.  OPINION.  LANSDON: The evidence fails to convince us that the petitioner's rooms in the hotel and the meals furnished himself and wife were solely for the convenience of his employer.  The record discloses that there was an assistant manager of the hotel and does not show that the*3705  wife of the petitioner rendered any service for the convenience of the hotel.  Except in the case of a minister of the gospel, there is no provision in the Revenue Act of 1921, which is the law applicable here, for excluding from income the reasonable value of meals and lodging received in addition to cash compensation.  To allow the claim of the petitioner would in effect permit him to deduct his personal living expenses from his gross income.  The action of the Commissioner in adding the reasonable value of the rooms and meals supplied to the petitioner by the hotel company is approved.  Judgment will be entered for the respondent.